                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                         2021-NCCOA-96

                                         No. COA20-436

                                        Filed 6 April 2021

     Person County, No. 19 CVS 752

     DALE LUNSFORD, Plaintiff,

                   v.

     DAVID K. TEASLEY, Defendant.


             Appeal by Plaintiff from Order entered 27 January 2020 by Judge Orlando F.

     Hudson, Jr. in Person County Superior Court. Heard in the Court of Appeals 9 March

     2021.


             Paulina Y. Lopez for plaintiff-appellant.

             David K. Teasley, pro se, defendant-appellee.


             MURPHY, Judge.


¶1           A civil action is “commenced” only through the procedures set out in Rule 3 of

     our Rules of Civil Procedure. Regardless of an intervening expiration of the statute

     of limitations, when a party voluntarily dismisses a claim without prejudice, “a new

     action based on the same claim may be commenced within one year after such

     dismissal.” N.C.G.S. § 1A-1, Rule 41(a)(1) (2019). Under Rule 3(a), there are two

     methods available to a party to commence the new action. First, the party may

     commence an action “by filing a complaint with the court.” N.C.G.S. § 1A-1, Rule 3(a)

     (2019). Second, the new civil action may be commenced by the issuance of a summons
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                                           2021-NCCOA-96

                                          Opinion of the Court



     and a trial court’s grant of a twenty-day extension to file the complaint, which tolls

     the statute of limitations and/or expiration of the Rule 41(a)(1) extension. N.C.G.S.

     § 1A-1, Rule 3(a) (2019); Goodman v. Living Ctrs.-Se., Inc., 234 N.C. App. 330, 335,

     759 S.E.2d 676, 680 (2014). Here, because neither method of commencing a suit

     occurred before the expiration of one year, the trial court properly dismissed the

     action.

¶2          Plaintiff Dale Lunsford appeals from an order granting Defendant David

     Teasley’s motion to dismiss his Complaint as untimely. Lunsford commenced his

     original action on 14 November 2017. On 26 September 2018, Lunsford gave notice

     of his voluntary dismissal without prejudice in accordance with Rule 41(a)(1).

     N.C.G.S. § 1A-1, Rule 41(a)(1) (2019). Almost one year later, on 24 September 2019,

     Lunsford requested the issuance of an order extending his time to file a complaint

     pursuant to Rule 3(a)(1) from the Clerk of Person County. N.C.G.S. § 1A-1, Rule

     3(a)(1) (2019). The clerk purported to grant a twenty-day extension pursuant to Rule

     3(a)(2).     N.C.G.S. § 1A-1, Rule 3(a)(2) (2019).          However, the Record does not

     demonstrate a summons was issued to commence the new action, and Lunsford

     makes no argument a summons was issued as required by Rule 3(a)(1). N.C.G.S. §

     1A-1, Rule 3(a)(1) (2019). Lunsford did not file his second Complaint in this action

     until 9 October 2019, over one year after his Rule 41(a)(1) extension.

¶3              “Our review of the grant of a motion to dismiss under Rule 12(b)(6) of [our]
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                                         2021-NCCOA-96

                                        Opinion of the Court



     Rules of Civil Procedure is de novo.” Bridges v. Parrish, 366 N.C. 539, 541, 742 S.E.2d

     794, 796 (2013).   “Likewise, questions of statutory interpretation are ultimately

     questions of law for the courts and are reviewed de novo.” Azure Dolphin, LLC v.

     Barton, 371 N.C. 579, 594, 821 S.E.2d 711, 722 (2018) (internal citation and marks

     omitted).

¶4          “Where statutory language is clear and unambiguous, our Courts do not

     ‘engage in judicial construction but must apply the statute to give effect to the plain

     and definite meaning of the language.’” Edwards v. Morrow, 219 N.C. App. 452, 455,

     725 S.E.2d 366, 369 (2012) (quoting Fowler v. Valencourt, 334 N.C. 345, 348, 435

     S.E.2d 530, 532 (1993)), appeal dismissed, disc. rev. denied, 366 N.C. 403, 737 S.E.2d

     378 (2012). Rule 3(a) of our Rules of Civil Procedure provides two methods by which

     a civil action may be commenced:

                  (a) A civil action is commenced by filing a complaint with
                  the court. . . .

                  A civil action may also be commenced by the issuance of a
                  summons when

                  (1) A person makes application to the court stating the
                  nature and purpose of his action and requesting permission
                  to file his complaint within 20 days and

                  (2) The court makes an order stating the nature and
                  purpose of the action and granting the requested
                  permission.

                  The summons and the court’s order shall be served in
                  accordance with the provisions of Rule 4.
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                                       Opinion of the Court



     N.C.G.S. §1A-1, Rule 3(a) (2019) (emphasis added).

¶5         Lunsford commenced an action under the first method by filing a complaint on

     9 October 2019, outside of the one-year period granted by Rule 41(a)(1). As a result,

     Lunsford could only have complied with the Rule 41(a)(1) one-year limitation by

     issuing a summons and receiving a twenty-day extension. However, nothing in the

     Record indicates a summons was ever issued. Applying the plain language of Rule

     3(a), the Application and Order Extending Time to File Complaint, filed on 24

     September 2019, did not commence a new action under the second method absent the

     issuance of a summons.      The trial court did not err in dismissing the second

     Complaint as the new action was commenced on 9 October 2019 by the filing of the

     Complaint, after the expiration of the one-year period prescribed by Rule 41(a)(1).

           AFFIRMED.

           Judges TYSON and GORE concur.
